Case 8:19-cv-01869-PSG-JDE Document 18 Filed 11/20/19 Page 1 of 5 Page ID #:137



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      ALATUS AEROSYSTEMS
  7
  8                       UNITED STATES DISTRICT COURT
  9                     CENTRAL DISTRICT OF CALIFORNIA
 10
 11   ALATUS AEROSYSTEMS, a                     CASE NO. 19-cv-1869-PSG (JDEx)
 12   California corporation,
                                                STIPULATION TO EXTEND TIME
 13                      Plaintiff,             TO RESPOND TO INITIAL
                                                COMPLAINT (L.R. 8-3)
 14         v.
                                                Complaint served: October 4, 2019
 15   MARIO VELAZQUEZ, an individual,           Current response date: November 22,
      and DOES 1 through 50, inclusive,         2019
 16                                             New response date: December 22, 2019
                         Defendants.
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                  STIPULATION TO EXTEND TIME TO RESPOND TO INITIAL COMPLAINT
Case 8:19-cv-01869-PSG-JDE Document 18 Filed 11/20/19 Page 2 of 5 Page ID #:138



  1         Pursuant to Local Rule 8-3 of the United States District Court for the Central
  2   District of California, Plaintiff Alatus Aerosystems (“Plaintiff”) and Defendant
  3   Mario Velazquez (“Defendant”) hereby stipulate and agree to the following:
  4         WHEREAS, Plaintiff filed the original complaint in this matter in the Central
  5   District of California on September 30, 2019 (the “Complaint”);
  6         WHEREAS, Plaintiff served the Complaint on Defendant on October 4, 2019;
  7         WHEREAS, the current deadline for Defendant to respond to Plaintiff’s
  8   Complaint is November 22, 2019, by prior stipulation of Plaintiff and Defendant;
  9         WHEREAS, Plaintiff and Defendant were engaged in settlement discussions
 10   that did not result in an agreement, they continue to discuss settlement in an attempt
 11   to reach an accord;
 12         WHEREAS, pursuant to Local Rule 8-3, the parties have agreed and
 13   stipulated that Defendant shall have an additional 30 days after November 22, 2019
 14   (i.e., until December 22, 2019), to respond to the Complaint.
 15         IT IS SO STIPULATED AND AGREED THAT Defendant shall have until
 16   December 22, 2019 to respond to Plaintiff’s Complaint.
 17
 18    Dated: November_____,
                       20 2019               DLA PIPER LLP (US)
 19
 20                                          By: /s/ Benjamin M. Gipson
 21                                             BENJAMIN M. GIPSON
                                                HECTOR E. COREA
 22                                             Attorneys for Plaintiff
                                                ALATUS AEROSYSTEMS
 23
 24    Dated: November_____, 2019
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 26                                          By:
                                                   MARIO VELAZQUEZ
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                   STIPULATION TO EXTEND TIME TO RESPOND TO INITIAL COMPLAINT
Case 8:19-cv-01869-PSG-JDE Document 18 Filed 11/20/19 Page 3 of 5 Page ID #:139



  1                             SIGNATURE ATTESTATION
  2         Pursuant to Local Rule 5-4.3.4(a)(2)(i), the undersigned certifies that all other
  3   signatories listed, and on whose behalf the filing is submitted, concur in the filing’s
  4   content and have authorized the filing.
  5
  6                    20 2019
       Dated: November_____,                    DLA PIPER LLP (US)
  7
  8                                             By:     /s/ Benjamin M. Gipson
  9                                                   BENJAMIN M. GIPSON
                                                      HECTOR E. COREA
 10                                                   Attorneys for Plaintiff
                                                      ALATUS AEROSYSTEMS
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                   STIPULATION TO EXTEND TIME TO RESPOND TO INITIAL COMPLAINT
Case 8:19-cv-01869-PSG-JDE Document 18 Filed 11/20/19 Page 4 of 5 Page ID #:140
Case 8:19-cv-01869-PSG-JDE Document 18 Filed 11/20/19 Page 5 of 5 Page ID #:141
